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  10                         UNITED STATES DISTRICT COURT
  11                        CENTRAL DISTRICT OF CALIFORNIA
  12
  13   GEORGIA BABB, et al.,                         CASE NO.: 8:18-cv-00994-JLS-
                                                     DFM
  14                 Plaintiffs,
                                                     NOTICE OF SUPPLEMENTAL
  15          v.                                     AUTHORITY IN SUPPORT OF
  16                                                 UNION DEFENDANTS’ MOTION
       CALIFORNIA TEACHERS                           TO DISMISS AND FOR
  17   ASSOCIATION, et al.,                          JUDGMENT ON THE
                                                     PLEADINGS AND IN THE
  18                        Defendants.              ALTERNATIVE FOR SUMMARY
                                                     JUDGMENT
  19
  20                                                 Hearing Date: March 29, 2019
                                                     Hearing Time: 10:30 a.m.
  21                                                 Location: Courtroom 10A
  22                                                 Judge: The Hon. Josephine L. Staton
  23
  24
  25
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          NOTICE OF SUPPL. AUTHORITY ISO UNION DEFS’ MOTION TO DISMISS AND FOR JUDGMENT
       ON THE PLEADINGS AND IN THE ALTERNATIVE FOR SUMMARY JUDGMENT, #8:18-cv-00994-JLS-DFM
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   1    NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF UNION
        DEFENDANTS’ MOTION TO DISMISS AND FOR JUDGMENT ON THE
   2   PLEADINGS AND IN THE ALTERNATIVE FOR SUMMARY JUDGMENT
   3         The Union Defendants advise the Court of the attached Opinion and Order
   4   recently issued in Cook v. Brown, No. 6:18-CV-01085-AA, ___ F.Supp.3d ___, 2019
   5   WL 982384 (D. Or. Feb. 28, 2019). The Opinion and Order is relevant to the Union
   6   Defendants’ pending motion because it applies the good faith defense to dismiss the
   7   Cook plaintiffs’ 42 U.S.C. §1983 claim for a refund of fair-share fees collected by
   8   the defendant union before issuance of Janus v. AFSCME Council 31, 138 S.Ct.
   9   2448 (2018). The Unions in this case have asserted the same defense to Plaintiffs’
  10   §1983 claim for a refund of pre-Janus fair-share fees. The Cook Opinion and Order
  11   is also relevant to the Union Defendants’ pending motion because it concludes that
  12   claims for prospective relief against fair-share fees do not present a live case or
  13   controversy where collection of fair-share fees permanently ceased after Janus. The
  14   Unions have made the same argument here.
  15      Dated: March 4, 2019                 Respectfully submitted,
  16
                                               ALTSHULER BERZON LLP
  17                                           Scott A. Kronland
  18                                           Jeffrey B. Demain
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  19
                                               By:     /s/ Scott A. Kronland
  20                                                 Scott A. Kronland
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          NOTICE OF SUPPL. AUTHORITY ISO UNION DEFS’ MOTION TO DISMISS AND FOR JUDGMENT
       ON THE PLEADINGS AND IN THE ALTERNATIVE FOR SUMMARY JUDGMENT, #8:18-cv-00994-JLS-DFM
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                           EXHIBIT A
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Cook v. Brown, --- F.Supp.3d ---- (2019)




                2019 WL 982384
  Only the Westlaw citation is currently available.
     United States District Court, D. Oregon,                                    BACKGROUND
              EUGENE DIVISION.
                                                             Plaintiffs are public employees who were exclusively
           Che’ S. COOK, et al., Plaintiffs,                 represented by AFSCME. Oregon’s Public Employee
                        v.                                   Collective Bargaining Act (“PECBA”) gives certain
          Kate BROWN, et al., Defendants.                    public employees the right to unionize and to elect an
                                                             exclusive representative. AFSCME is such an exclusive
               Case No. 6:18-cv-01085-AA                     representative and PECBA requires it to also represent the
                            |                                interests of non-members during collective bargaining
                  Signed 02/28/2019                          negotiations. To avoid free-riders, the Act authorizes
                                                             public employers to deduct a fraction of full union dues,
Attorneys and Law Firms                                      often called “agency fees,” from non-members to cover
                                                             the costs of general collective bargaining representation.
Jill Gibson, Gibson Law Firm, Portland, OR, Milton L.
Chappell, National Right to Work Legal Defense               Plaintiffs filed an action under 42 U.S.C. § 1983
Foundation, Inc., Springfield, VA, Christi C. Goeller,       challenging the constitutionality of these fees. They
James G. Abernathy, Rebekah C. Millard, Olympia, WA,         argued that Defendants were violating their First
for Plaintiffs                                               Amendment rights by forcing compulsory agency fee
                                                             payments to AFSCME as a condition of their
Carla Scott, Scott J. Kaplan, Oregon Department of           employment, even though Plaintiffs did not belong to this
Justice, Margaret S. Olney, Bennett, Hartman, Morris &       union and did not wish to subsidize the union’s activities.
Kaplan, LLP, Portland, OR, Matthew J. Murray, Scott A.       Plaintiffs sought (i) a declaratory judgment that all
Kronland, Altshuler Berzon LLP, San Francisco, CA,           pertinent      statutes,     rules,    regulations,    and
Jennifer K Chapman, Salem, OR, for Defendants                collective-bargaining agreements that compel agency fees
                                                             violate the First Amendment; (ii) an injunction against
                                                             activities that violate the declaratory judgment; and (iii)
                                                             compensatory damages or restitution from AFSCME for
                                                             the wrongfully seized agency fees.

                                                             While this case was pending, the Supreme Court handed
                                                             down its decision in Janus v. AFSCME on June 27, 2018.
                                                             ––– U.S. ––––, 138 S.Ct. 2448, 201 L.Ed.2d 924 (2018).
                 OPINION & ORDER
                                                             Janus was the culmination of a series of cases that
                                                             expressed skepticism about the core holding of Abood v.
Ann Aiken, United States District Judge                      Detroit Board of Education—namely, that public
                                                             employees could be required to pay agency fees as a
*1 Che’ S. Cook, Clifford H. Elliott, J. Scott English,      condition of their employment without violating the First
Bethany Harrington, William Lehner, Carmen Lewis, and        Amendment. 431 U.S. 209, 209, 97 S.Ct. 1782, 52
Trudy Metzger (collectively, “Plaintiffs”)1 were forced to   L.Ed.2d 261 (1977). In 2012, the Supreme Court
pay compulsory union agency fees to the American             considered Knox v. Service Employees International
Federation of State, County, and Municipal Employees,        Union and called Abood “something of an anomaly,” 567
Council 75 (“AFSCME”). They brought suit against             U.S. 298, 311, 132 S.Ct. 2277, 183 L.Ed.2d 281 (2012).
AFSCME as well as against two public officials: Kate         Two years later in Harris v. Quinn, the Supreme Court
Brown and Katy Coba (“State Defendants”). Before the         was asked to overrule Abood but declined to do so even
Court is AFSCME’s Motion for Judgment on the                 after including notably pointed dicta about Abood in its
Pleadings or, Motion for Summary Judgment (doc. 24).         opinion. 573 U.S. 616, 635, 134 S.Ct. 2618, 189 L.Ed.2d
For the reasons discussed, AFSCME’s motion is                620 (2014) (stating that Abood “seriously erred” in its
GRANTED.                                                     treatment of prior cases and “did not foresee the practical
                                                             problems that would face objecting nonmembers.”).
                                                             Twelve months later, the Supreme Court again considered
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overruling Abood in Friedrichs v. California Teachers           1127, 1137 (9th Cir. 2009) (citation and internal quotation
Association, et al., but split 4-4. ––– U.S. ––––, 136 S. Ct.   marks omitted).
1083, 194 L.Ed.2d 255 (2016) (per curiam) ). After over
forty years of litigation, the fight to overrule Abood          The substantive law governing a claim or defense
finally reached its zenith in Janus, which held that            determines whether a fact is material. Miller v. Glenn
compulsory union payments, including agency fees,               Miller Prod., Inc., 454 F.3d 975, 987 (9th Cir. 2006). If
cannot be collected from nonconsenting employees. 138           the resolution of a factual dispute would not affect the
S.Ct. at 2486. Abood was thus overruled. Id.                    outcome of the claim, the court may grant summary
                                                                judgment. Id.
*2 State Defendants submitted declarations evincing
immediate compliance with Janus’s holding and moved
to dismiss the claims against them with prejudice.
Plaintiffs failed to file a response and I granted State
Defendants’ motion.

On October 19, 2018, AFSCME filed a Motion for                                       DISCUSSION
Judgment on the Pleadings or, Motion for Summary
                                                                AFSCME argues that (i) Plaintiffs’ claims for declaratory
Judgment. It argues that it has fully complied with Janus,
                                                                and injunctive relief are moot because AFSCME stopped
has no intention of doing otherwise, and Plaintiffs’
                                                                collecting agency fees after Janus, and (ii) Plaintiffs’
requested prospective relief is therefore moot. It further
                                                                claims for monetary relief—both compensatory damages
argues that it is entitled to a good faith defense against
                                                                and restitution—must be dismissed because pre-Janus
claims for monetary liability. For the reasons discussed
                                                                agency fees were collected in good faith reliance on state
below, AFSCME’s motion is granted and this case is
                                                                law and controlling Supreme Court precedent.
dismissed.
                                                                With respect to mootness, Plaintiffs argue that the
                                                                voluntary cessation exception precludes dismissing the
                                                                claims for injunctive relief and that the request for
                                                                declaratory relief is not moot. With respect to good faith,
                                                                they argue that private parties have no good faith defense
                  LEGAL STANDARD                                in § 1983 First Amendment cases, and even if they do,
                                                                that AFSCME cannot claim good faith. They also argue
Summary judgment is appropriate when there is no                that allowing a good faith defense would fly in the face of
genuine dispute of material fact and the movant is entitled     the Supreme Court’s retroactivity doctrine.
to judgment as a matter of law.2 Fed. R. Civ. P. 56(a). The
moving party bears the initial burden to show an absence
of a dispute of material fact. Rivera v. Philip Morris, Inc.,
395 F.3d 1142, 1146 (9th Cir. 2005). If the moving party
meets its burden, the burden shifts to the non-moving
party to show that there is a genuine dispute of material          I. Mootness
fact for trial. Id. To meet its burden, “the non-moving         *3 AFSCME argues that Plaintiffs’ claims for injunctive
party must do more than show there is some metaphysical         and declaratory relief are moot because AFSCME
doubt as to the material facts at issue.” In re Oracle Corp.    immediately ceased its unconstitutional practices after
Sec. Litig., 627 F.3d 376, 387 (9th Cir. 2010).                 Janus and has no plan to reverse course. Plaintiffs argue
                                                                that the voluntary cessation exception to mootness
The court must draw all reasonable inferences in favor of       precludes summary judgment.
the non-moving party. Sluimer v. Verity, Inc., 606 F.3d
584, 587 (9th Cir. 2010). A “mere disagreement or the           Article III of the Constitution grants federal courts the
bald assertion that a genuine issue of material fact exists”    authority to decide cases and controversies. Already, LLC
is not sufficient to preclude the grant of summary              v. Nike, Inc., 568 U.S. 85, 90, 133 S.Ct. 721, 184 L.Ed.2d
judgment. Harper v. Wallingford, 877 F.2d 728, 731 (9th         553 (2013). “A case becomes moot—and therefore no
Cir. 1989). When the non-moving party’s claims are              longer a Case or Controversy for purposes of Article
factually implausible, that party must “come forward with       III—when the issues presented are no longer live or the
more persuasive evidence than otherwise would be                parties lack a legally cognizable interest in the outcome.”
necessary.” LVRC Holdings, LLC v. Brekka, 581 F.3d              Id. at 91, 133 S.Ct. 721 (citation and internal quotation

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marks omitted). However, the “voluntary cessation of           share fees collected in June 2018 to all non-union
allegedly illegal conduct does not deprive the tribunal of     employees.” Pye Decl. ¶¶ 3–4 (doc. 11).
power to hear and determine the case” unless “interim
relief or events have completely and irrevocably               AFSCME also provided copies of the letters it sent to
eradicated the effects of the alleged violation.” Cnty. of     state employers who were collecting agency fees on its
Los Angeles v. Davis, 440 U.S. 625, 631, 99 S.Ct. 1379,        behalf. See Ramseier Decl. Ex. A. These letters requested
59 L.Ed.2d 642 (1979) (citation and internal quotation         that the recipient state employers “[i]mmediately cease
marks omitted). A party asserting mootness must also           and desist the deduction of fair share payments[ ] [and]
persuade the court that the challenged conduct cannot          [r]etain any fair share dues that have been deducted but
reasonably be expected to reoccur. Adarand Constructors,       not yet paid to AFSCME, and immediately reimburse
Inc. v. Slater, 528 U.S. 216, 222, 120 S.Ct. 722, 145          employees for those payments.” Id.
L.Ed.2d 650 (2000).
                                                               *4 These declarations and letters demonstrate that there is
Ninth Circuit precedent provides the contours of the           no live controversy between the parties necessitating
voluntary cessation inquiry. Fikre v. FBI, 904 F.3d 1033,      injunctive relief. Plaintiffs seek to enjoin the very act that
1038 (9th Cir. 2018). First, the form of government action     the petitioner in Janus sought to declare unconstitutional.
is critical and can be dispositive. Id. “A statutory change    The Supreme Court agreed with the Janus petitioner and
... is usually enough to render a case moot, even if the       AFSCME immediately took steps to comply with its
legislature possesses the power to reenact the statute after   holding. Plaintiffs, then, have received the benefit of their
the lawsuit is dismissed.” Native Vill. of Noatak v.           request and there is no Article III case or controversy for
Blatchford, 38 F.3d 1505, 1510 (9th Cir. 1994). As the         me to enjoin. See Danielson v. Inslee, 345 F.Supp.3d
Eight Circuit has observed, the rigors of the legislative      1336 (W.D. Wash. 2018) (also finding the
process “bespeak ... finality and not ... opportunistic        state-defendants’ declarations of compliance with Janus
tentativeness.” Libertarian Party of Arkansas v. Martin,       and no evidence of equivocation sufficient to find
876 F.3d 948, 951 (8th Cir. 2017). On the other hand, “an      mootness); see also Yohn v. California Teachers Ass’n.,
executive action that is not governed by any clear or          No. 8:17-cv-00202-JLS-DFM, 2018 WL 5264076, at *5
codified procedures cannot moot a claim.” McCormack v.         (C.D. Cal. Sept. 28, 2018) (relying on Danielson and
Herzog, 788 F.3d 1017, 1025 (9th Cir. 2015).                   concluding the same).

                                                               There is also no reasonable expectation that AFSCME
                                                               will resume collecting agency fees. A change in Supreme
                                                               Court case law coupled with evidence of AFSCME’s
                                                               compliance with that case law is an interim event that
                                                               precludes further legal violations. Cnty. of Los Angeles,
                   A. Injunctive Relief                        440 U.S. at 631, 99 S.Ct. 1379 (finding that interim
                                                               events and no reasonable expectation of continued
Plaintiffs’ request for injunctive relief is moot. By all
                                                               violations to be sufficient to establish mootness). I see no
indications, AFSCME has stopped collecting agency fees
                                                               reason to assume, without evidence, AFSCME’s
from non-members: it submitted sworn declarations and
                                                               willingness to flagrantly violate the law. While changes in
supporting exhibits evincing full compliance with Janus.
                                                               the law resulting from executive action can be reversed
                                                               with relative ease, a reversal of Supreme Court precedent
For example, Jeneane Ramseier is the Fiscal Director for
                                                               is analogous to a statutory change that “bespeaks finality”
AFSCME and submitted a sworn declaration stating
                                                               and is not a change that could easily be altered. Therefore,
“AFSCME Council 75 has not retained any fair-share fees
                                                               the voluntary cessation doctrine is inapplicable.
deducted from any of the plaintiffs’ wages on or after
June 27, 2018. None of the plaintiffs had any fair-share
fees deducted after June 30, 2018, and all fair-share fees
deducted from any of the plaintiffs’ wages for the month
of June 2018 were refunded.” Ramseier Decl. ¶¶ 5–7
(doc. 25). Similarly, Nettie Pye, who is Oregon’s State
Labor Relations Manager for the Department of                                     B. Declaratory Relief
Administrative Services (“DAS”), submitted a declaration
stating that “following Janus, DAS stopped making fair         District courts must decide the merits of a declaratory
share deductions from all non-union employees effective        judgment claim even when an injunction request becomes
June 1, 2018. DAS also issued reimbursements for fair          moot. Super Tire Eng’g Co. v. McCorkle, 416 U.S. 115,

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121–22, 94 S.Ct. 1694, 40 L.Ed.2d 1 (1974). The test for        AFSCME         submitted      declarations    and     letters
mootness in the declaratory judgment context is whether         demonstrating no real risk that Plaintiffs will be subject to
there is a substantial controversy between parties with         the laws, agreements, and conduct that they challenge. No
adverse legal interests that are sufficiently immediate to      plaintiff is presently being required to pay agency fees
warrant declaratory relief. Biodiversity Legal Found. v.        and none has posited a realistic possibility that they will
Badgley, 309 F.3d 1166, 1174–75 (9th Cir. 2002) (citation       be required to do so in the future. Therefore, the
and internal quotation marks omitted). In other words, the      declaratory relief request is moot.
issue is “whether changes in the circumstances that
prevailed at the beginning of litigation have forestalled
any occasion for meaningful relief.” West v. Sec’y of
Dep’t of Transp., 206 F.3d 920, 925 n.4 (9th Cir. 2000)
(citation and internal quotation marks omitted).
                                                                   II. Good Faith Defense
Applying that standard here, Plaintiffs’ request for            AFSCME argues that it should not be held liable for
declaratory relief is also moot. The Complaint solicits a       monetary damages because it relied in good faith on
declaration “that all pertinent statutes, rules, regulations,   presumptively valid state law that was constitutional
and collective-bargaining agreements that compel                under then-binding Supreme Court precedent. Plaintiffs
Plaintiffs to pay agency fees to AFSCME ... are                 make three arguments in response: (i) the good faith
unconstitutional [and] null and void.” Compl. at 8 (doc.        defense is unavailable to private parties for First
1). But the action in question, i.e., the forced deduction of   Amendment violations in a § 1983 action; (ii) that even if
agency fees from their paychecks and transfer to                good faith is available, AFSCME cannot meet the
AFSCME, is not occurring. There is simply no                    defense’s requirements; and (iii) allowing AFSCME to
controversy, let alone an immediate one, to warrant a           claim good faith would run afoul of the Supreme Court’s
declaratory judgment. Such a declaration would therefore        retroactivity doctrine. Each are addressed below.
be an impermissible advisory opinion. See Akina v.
Hawaii, 835 F.3d 1003, 1011 (9th Cir. 2016) (citing
Princeton Univ. v. Schmid, 455 U.S. 100, 102, 102 S.Ct.
867, 70 L.Ed.2d 855 (1982) (per curiam) ) (“We do not sit
to decide hypothetical issues or to give advisory opinions
about issues as to which there are not adverse parties             A. Private Parties & Good Faith in § 1983 Actions
before us.”).
                                                                The threshold question of whether the good faith defense
Plaintiffs argue that Janus only affected the parties before    is available to private parties in § 1983 actions has been
it and does not impact other states’ laws automatically.        answered affirmatively by the Ninth Circuit.
They insist that this Court needs to act for Janus to be
applied to Oregon’s statutes and AFSCME’s agreements            In Clement v. City of Glendale, the plaintiff brought a §
with the State. But the existence of potentially                1983 action against a towing company, an officer in his
problematic agreements and laws is not sufficient to            individual capacity, and the City of Glendale for towing
overcome mootness.                                              her car from a hotel parking lot in violation of the
                                                                Fourteenth Amendment. 518 F.3d 1090, 1092–93 (9th
*5 In City of Los Angeles v. Lyons, for example, the            Cir. 2008). The district court granted summary judgment
plaintiff alleged that he was the past victim of an             to the officer based on qualified immunity and to the
unconstitutional chokehold and that the police                  towing company based on good faith. Id. at 1093. The
department’s unconstitutional chokehold policy still            Ninth Circuit affirmed. Id. at 1097–98. It acknowledged
existed. 461 U.S. 95, 98–99, 103 S.Ct. 1660, 75 L.Ed.2d         that the Supreme Court in Wyatt v. Cole and again in
675 (1983). Even so, the Supreme Court concluded that           Richardson v. McKnight had held open whether private
his claim for prospective relief against the policy did not     defendants could avail themselves of the good faith
present an Article III case or controversy because the          defense in a § 1983 action. Id. at 1096–97; Wyatt v. Cole,
plaintiff could not show a real risk of being personally        504 U.S. 158, 169, 112 S.Ct. 1827, 118 L.Ed.2d 504
subject to the policy in the future. Id. at 111, 103 S.Ct.      (1992) (“[W]e do not foreclose the possibility that private
1660                                                            defendants faced with § 1983 liability ... could be entitled
                                                                to an affirmative defense based on good faith.”);
The same is true here: Janus held agency fees to be             Richardson v. McKnight, 521 U.S. 399, 413–14, 117 S.Ct.
unconstitutional and AFSCME stopped collecting them.            2100, 138 L.Ed.2d 540 (1997) (“Wyatt explicitly stated

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that it did not decide whether or not the private defendants
before it might assert, not immunity, but a special             Third, there are analogous common law torts to the First
‘good-faith’ defense ... we do not express a view on this       Amendment violation at issue in this case. Namely, the
last-mentioned question.”). But Clement found it                common law tort of abuse of process, which
appropriate to allow the private towing company to utilize      coincidentally was the cause of action in Wyatt. 504 U.S.
the good faith defense through a facts and circumstances        at 164, 112 S.Ct. 1827; see also Danielson v. AFSCME,
analysis. Clement, 518 F.3d at 1097 (“[T]he facts of this       340 F.Supp.3d 1083, 1086 (W.D. Wash. 2018) (finding
case justify allowing Monterey Tow Service to assert such       that defamation may also constitute an analogous tort to
a good faith defense.”).                                        plaintiff’s First Amendment claim against the union).

To this Plaintiffs respond that a good faith defense is         Abuse of process is a “cause[ ] of action against private
nevertheless not available to private parties in the First      defendants for unjustified harm arising out of the misuse
Amendment context and put forth the following                   of governmental processes.” Wyatt, 504 U.S. at 164, 112
syllogism: that a good faith defense to a constitutional tort   S.Ct. 1827. It required the plaintiff “to establish ... both
is only available if an analogous common law tort in 1871       that the defendant acted with malice and without probable
contained an intent element; that there are no analogous        cause.” Id. at 172, 112 S.Ct. 1827 (Kennedy, J., joined by
common law torts to First Amendment free speech                 Scalia, J., concurring).
violations with an intent element; that AFSCME
committed a free speech violation; and that it therefore        Here, Plaintiffs’ First Amendment claim against
cannot avail itself of the good faith defense.                  AFSCME depends on AFSCME’s use of governmental
                                                                processes to collect agency fees. AFSCME used a state
*6 But Plaintiffs’ syllogism suffers from three flaws.          law procedure in violation of the First Amendment to
First, Plaintiffs argument fails because affirmative            deduct a portion of each non-member’s paycheck for the
defenses need not relate to or rebut specific elements of       benefit of AFSCME and to the detriment of Plaintiffs.
an underlying claim. See Jarvis v. Cuomo, 660 F.App’x           And what makes AFSCME’s action a § 1983
72, 75–76 (2d Cir. 2016) (extending the good faith              constitutional issue is its use of the Oregon statutes
defense to a private party in a § 1983 First Amendment          authorizing the deduction of agency fees from employees.
action and citing Black’s Law Dictionary to distinguish         The Oregon statutes provide the necessary link between
between affirmative defenses and standard defenses in           AFSCME’s actions and the “under color of any statute”
rejecting a nearly identical argument).                         requirement of a § 1983 claim. Had AFSCME’s actions
                                                                occurred prior to § 1983’s enactment in 1871, then,
Second, Ninth Circuit precedent does not require an             Plaintiffs could have brought their action under an abuse
analysis of pre-1871 common law torts for extending the         of process theory. The state-of-mind requirement for an
good faith defense against an alleged constitutional            abuse of process claim is malice and acting in good faith
violation. Instead, the Ninth Circuit’s analysis in Clement     would preclude the claim because it would negate the
is more akin to the traditional equitable basis for             malice requirement. Thus, good faith is not precluded
extending good faith than to a formalistic analysis that        even under Plaintiffs’ theory of the defense.
would require an analogous tort over 130 years ago. To
warrant good faith, the Clement court explained that the
towing company “did its best to follow the law ... the tow
was authorized by the police department [and it was]
permissible under both local ordinance and state law.”
Clement, 518 F.3d at 1097. The court also explained that
the “constitutional defect—a lack of notice to the car’s                   B. AFSCME’s Good Faith Defense
owner—could not have been observed by the towing
                                                                *7 I find that AFSCME is entitled to a good faith defense
company at the time when the tow was conducted; there
                                                                against claims of monetary liability. See Danielson, 340
would be no easy way for a private towing company to
                                                                F.Supp.3d at 1085 (finding “ample authority” for the good
know whether the owner had been notified or not.” Id.
                                                                faith defense to apply under nearly identical facts).
The court was therefore more concerned about the
inequities of holding the private towing company liable
                                                                Courts have acknowledged that good faith is not
than by anchoring its analysis with pre-1871 torts, or the
                                                                susceptible to a precise definition. See, e.g., In re Agric.
fact that the defense was being raised in a Fourteenth
                                                                Research & Tech. Grp., 916 F.2d 528, 536 (9th Cir. 1990)
Amendment context rather than in the context of some
                                                                (citing In re Roco Corp., 701 F.2d 978, 984 (1st Cir.
other constitutional tort.
                                                                1983) ). The defense has been applied by the Ninth

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Circuit without a precise articulation of its contours. See,    a statute not yet held invalid.”). Similarly, AFSCME
e.g., Clement, 518 F.3d at 1097 (not articulating a             justifiably relied on statutes that were valid under Abood,
standard for good faith for § 1983 claims but still             and holding it liable for monetary damages solely because
applying it).3 Nevertheless, traditional principles of equity   certain Justices had expressed doubt about Abood’s
and fairness are generally understood to underpin the           reasoning would be unworkable and highly inequitable.
defense. Danielson, 340 F.Supp.3d at 1085.                      See Lemon v. Kurtzman, 411 U.S. 192, 199, 93 S.Ct.
                                                                1463, 36 L.Ed.2d 151 (1973) (“[S]tatutory or even
Here, AFSCME collected agency fees in accordance with           judge-made rules of law are hard facts on which people
Oregon’s laws and then-controlling Supreme Court                must rely in making decisions and in shaping their
precedent that upheld their constitutionality. It would be      conduct.”). AFSCME is therefore entitled to a good faith
highly inequitable to hold private parties retroactively        defense.
liable for § 1983 damages in such a circumstance. Much
like the defendant towing company in Clement,
AFSCME’s actions “appeared to be permissible under
[the] law.” Clement, 518 F.3d at 1097. It is highly
relevant that AFSCME, as the exclusive bargaining
representative, had an official role under Oregon’s public
labor relations statutes and a legal duty to represent all                         C. Civil Retroactivity
employees within its respective bargaining unit. The
                                                                *8 Finally, Plaintiffs argue that the good faith defense
agency fees were collected pursuant to contracts with
                                                                runs afoul of the Supreme Court’s retroactivity doctrine
public employers to pay the costs of that representation.
                                                                because Janus’s holding entitles them to monetary
As such, AFSCME was not pursuing its own private
                                                                damages.
interests; its actions were good faith attempts to comply
with its statutory obligations.
                                                                Under the retroactivity doctrine, new Supreme Court
                                                                holdings are “controlling interpretation[s] of federal law
Whether AFSCME subjectively believed that the
                                                                and must be given full retroactive effect in all cases still
Supreme Court was poised to overrule Abood is
                                                                open on direct review.” Harper v. Virginia Dep’t of
irrelevant, as reading the tea leaves of Supreme Court
                                                                Taxation, 509 U.S. 86, 97, 113 S.Ct. 2510, 125 L.Ed.2d
dicta has never been a precondition to good faith reliance
                                                                74 (1993). But retroactive application of a new Supreme
on governing law. And so are any steps it took to mitigate
                                                                Court ruling does not determine what remedy, if any, a
potential disruptions from Abood’s possible reversal prior
                                                                party should obtain. Davis, 564 U.S. at 243, 131 S.Ct.
to Janus. Given the potentially systemic effects of
                                                                2419; see also Reynoldsville Casket Co. v. Hyde, 514 U.S.
Supreme Court decisions in areas of great public
                                                                749, 750, 115 S.Ct. 1745, 131 L.Ed.2d 820 (1995) (no
importance, failure to contingency plan can be ruinous
                                                                retroactive liability where there is “a previously existing,
and AFSCME sensibly decided to manage this risk. As
                                                                independent legal basis for denying relief”).
the district court in Danielson explained, “[a]ny
subjective belief [the union] could have had that the
                                                                Here, there is no indication that Janus intended to open
precedent was wrongly decided and should be overturned
                                                                the floodgates to retroactive monetary relief. Even if
would have amounted to telepathy.” 340 F.Supp.3d at
                                                                Janus does apply retroactively, it does not mean that
1086.
                                                                parties are always retroactively liable for damages. In
                                                                Davis v. United States, for example, the petitioner alleged
Precluding a good faith defense based on subjective
                                                                that the search of his car subsequent to arrest violated the
predictions of when the Supreme Court would overrule
                                                                Fourth Amendment. 564 U.S. at 229, 131 S.Ct. 2419.
precedent would also imperil the rule of law. State
                                                                While his appeal was pending, the Supreme Court
officials are entitled to rely on Supreme Court precedent
                                                                announced a new rule governing automobile searches
in their official conduct, even if that precedent’s
                                                                incident to arrests which would have required the
reasoning has been questioned. See Davis v. United
                                                                exclusion of any evidence obtained by the officer through
States, 564 U.S. 229, 241, 131 S.Ct. 2419, 180 L.Ed.2d
                                                                his search of the petitioner’s car. Id. A strict application of
285 (2011) (declining to apply exclusionary rule to
                                                                retroactivity would have necessitated this result, but the
evidence generated in searches that were consistent with
                                                                Supreme Court explained that such a result “erroneously
then-binding case law because police were entitled to rely
                                                                conflates retroactivity with remedy.” Id. at 230, 131 S.Ct.
on that precedent, even though its reasoning had been
                                                                2419. Moreover, the Supreme Court found that applying
questioned); Pinsky v. Duncan, 79 F.3d 306, 313 (2d Cir.
                                                                the good faith exception to the exclusionary rule did not
1996) (“[I]t is objectively reasonable to act on the basis of
                                                                run afoul of retroactivity. Id.

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Cook v. Brown, --- F.Supp.3d ---- (2019)




Applying Davis’s reasoning in the instant case makes
clear that allowing AFSCME to avail itself of the good
faith defense is not contrary to the retroactivity doctrine.
Just like the officer in Davis, AFSCME was “in strict                                      CONCLUSION
compliance with then-binding [case] law and was not
                                                                     For the reasons herein, the Court GRANTS AFSCME’s
culpable in any way.” Id. at 229–30, 131 S.Ct. 2419.
                                                                     Motion for Judgment on the Pleadings or, Motion for
While this case was pending the Supreme Court
                                                                     Summary Judgment (doc. 24).
overturned Abood and announced a new rule in Janus that
made agency fees unlawful. AFSCME immediately
                                                                     IT IS SO ORDERED.
complied and, for the reasons outlined above, I find that it
is entitled to the good faith defense. Since extending the
good faith defense only concerns the appropriate remedy              All Citations
for Plaintiffs, it is consistent with the retroactivity
doctrine.                                                            --- F.Supp.3d ----, 2019 WL 982384



Footnotes

1      AFSCME notes that Che’ Cook and William Lehner never paid agency fees and that any funds deducted from their
       wages were pursuant to a signed membership card authorizing the deductions.

2      Because the Court has considered material outside of the pleadings in making its decision, the Court only assesses
       the parties’ claims under the summary judgment standard.

3      Plaintiffs also argue that even if the good faith is available, that Clement sets out the “necessary factors” for this
       defense and AFSCME cannot demonstrate these factors. Nowhere does Clement characterize any of these “factors”
       as “necessary.” And what Plaintiffs characterize as “factors” are simply the circumstances that, in totality, persuaded
       the Clement court to find the good faith defense to be appropriate.




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